                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:12-00159
                                                  )      JUDGE CAMPBELL
ANGELA CAMARDA                                    )

                                           ORDER

        Pending before the Court is a letter from Defendant Angela Comarda (Docket No. 30)

requesting information regarding this proceeding. The letter is REFERRED to the Magistrate

Judge for determination of whether counsel should be appointed for Defendant Comarda.

        It is so ORDERED.

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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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